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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

BIODELIVERY SCIENCES INTERNATIONAL, )
INC. and ARIUS TWO, INC.,            )
                                     )
                 Plaintiffs,         )
                                     )
        v.                           )                  C.A. No. __________
                                     )
CHEMO RESEARCH, S.L., INSUD PHARMA   )
S.L., INTELGENX CORP., and INTELGENX )
TECHNOLOGIES CORP.,                  )
                                     )
                 Defendants.         )
                                     )

             SUPPLEMENTAL INFORMATION FOR PATENT CASES
        INVOLVING AN ABBREVIATED NEW DRUG APPLICATION (ANDA)


       Plaintiffs hereby provide the information below with respect to the deadlines set forth in

21 U.S.C. § 355(j):

       Date Patentee(s) Received Notice:     On or about: January 31, 2019

       Date of Expiration of Patent:         Patent No. 8,147,866: July 23, 2027

                                             Patent No. 9,655,843: July 23, 2027

                                             Patent No. 9,901,539: December 21, 2032

       Thirty Month Stay Deadline:           On or about: August 1, 2021
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